 8:11-cr-00258-RFR-SMB              Doc # 49     Filed: 11/14/11       Page 1 of 1 - Page ID # 67



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )              8:11CR258
                       Plaintiff,                       )
                                                        )
       vs.                                              )                ORDER
                                                        )
ANTHONY HARLAN,                                         )
                                                        )
                       Defendant.                       )

       This matter is before the court on the Petition for Action on Conditions of Pretrial Release
(Petition) regarding defendant Anthony Harlan (Harlan) (Filing No. 38). On September 13, 2011,
Harlan was ordered released upon conditions pending further proceedings (Filing No. 27). Harlan
was to reside in Omaha, Nebraska, subject to electronic monitoring and abide by other conditions of
release. On October 21, 2011, Pretrial Services Officer Lisa M. Caviness submitted a Petition
alleging Harlan had violated the conditions of his release by removing his electronic monitoring device
and absconding from supervision. A warrant for Harlan’s arrest was issued.
       Harlan appeared before the undersigned magistrate judge on November 14, 2011. He was
represented by Julie M. Frank and the United States was represented by Assistant U.S. Attorney
David M. W ear. After being advised of the nature of the allegations, his rights, and the consequences
if the allegations were found to be true, Harlan admitted the allegations.         The court finds the
allegations of the Petition are generally true and Harlan has violated the conditions of his release.
       The court took judicial notice of the Pretrial Services Violation Report (Filing No. 43 - Sealed).
After providing both parties an opportunity for allocution as to disposition and considering the report
of Pretrial Services, I find the Order Setting Conditions of Release should be revoked. Harlan has
demonstrated he is unable to comply with rules of his release.


       IT IS ORDERED:
       1.      The Petition For Action on Conditions of Pretrial Release (Filing No. 38) is granted.
       2.      The September 13, 2011, Order Setting Conditions of Release of Anthony Harlan
(Filing No. 27) is hereby revoked.
       3.      The defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall
be afforded a reasonable opportunity for private consultation with defense counsel. On order of a
court of the United States or on request of an attorney for the Government, the person in charge of
the corrections facility shall deliver the defendant to the United States Marshal for the purpose of an
appearance in connection with a court proceeding.


       DATED this 14th day of November, 2011.
                                                        BY THE COURT:


                                                        s/Thomas D. Thalken
                                                        United States Magistrate Judge
